Case 21-22494-GLT           Doc 45    Filed 09/16/22 Entered 09/16/22 15:01:15                Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE: Jerome J. Nypaver
                               Debtor(s)                                        CHAPTER 13

LYCASTE LLC
                               Movant
               vs.
                                                                             NO. 21-22494 GLT
Jerome J. Nypaver
                               Debtor(s)

Ronda J. Winnecour, Esq.
                               Trustee

                     MOTION OF LYCASTE LLC TO ALLOW FILING OF CLAIM

         Movant, by and through its Attorney, KML Law Group, P.C, hereby brings this Motion to Allow
 Filing of Claim and in support thereof avers the following;

         1.      Movant is LYCASTE LLC.
         2.      Movant is the holder of a secured claim in the above referenced matter.
         3.      Movant has prepared a proof of claim for filing, setting forth pre-petition arrears in the
 amount of $128,929.40. A copy of the proposed proof of claim is attached as Exhibit “A” hereto.
         4.      The bar date for filing claims was January 27, 2022.
         5.      The Debtor’s confirmed plan provides for payment of arrears through a loan modification
 which has not yet been obtained, nor is guaranteed.
         6.      There will be no prejudice to the Debtor if the Motion to Allow Filing of Claim is
 allowed.
         WHEREFORE, Movant respectfully requests that this Court enter an Order allowing the filing of
 a Proof of Claim.

 Date: September 12, 2022
                                                       /s/ Denise Carlon, Esquire
                                                       Denise Carlon, Esquire
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